         CASE 0:24-cv-00439-JRT-DLM         Doc. 81    Filed 03/28/25    Page 1 of 13




                              UNITED STATES DISTRICT COURT
                                 DISTRICT OF MINNESOTA

________________________________________________________________________

Stephen Allwine                             Case No:      24-CV-00439 (JRT/DLM)

                Petitioner,
                                            RESPONDENT’S MEMORANDUM IN
v.                                          RESPONSE TO PETITIONER’S MOTION
                                            TO EXPAND THE RECORD
William Bolin

                Respondent.

________________________________________________________________________

                                     INTRODUCTION

         Petitioner Stephen Allwine (“Petitioner”) has filed a motion to expand the record

to include an unsigned document that was last updated on March 11, 2025, allegedly

authored by Sean L. Harrington1 that is riddled with hearsay, speculation, and

unsubstantiated allegations against Mark Lanterman, an expert witness called by the State

in its prosecution of Petitioner. Petitioner maintains this document (hereinafter referred to

as the “Harrington Document”) proves that Mr. Lanterman was not a “qualified expert”

and allegedly “lied on the stand” about his educational background and about being a

faculty member at the Federal Judicial Center. Petitioner’s Motion p. 1. Petitioner’s

motion must be denied because the Harrington Document does not contain vital facts to

support Petitioner’s Habeas Corpus petition and Petitioner has failed to establish the

required conditions prescribed by 28 U.S.C.A. § 2254 (e)(2).


1
    Mr. Harrington is allegedly an attorney licensed in Wisconsin.
                                               1
      CASE 0:24-cv-00439-JRT-DLM            Doc. 81    Filed 03/28/25   Page 2 of 13




                                           FACTS

I.     Mr. Lanterman’s Trial Testimony regarding his Educational Background
       and his role with the Federal Judicial Center.

       Mr. Lanterman testified at Petitioner’s trial on January 29, 2018. 15T.1. During his

testimony, Mr. Lanterman was questioned about his educational background, and he

stated, “I have an undergraduate and graduate degree both in Computer Science.” 15T.7.

Mr. Lanterman’s curriculum vitae was admitted into evidence, as part of his expert

report, which stated, in relevant parts: 1) “Mark frequently provides training within the

legal community including presentations at the…8th Circuit Federal Judicial Center…”;

and 2) under “Education and Certifications,” it states “Upsala College – B.S. computer

Science (1988): M.S. Computer Science (1990)…” Trial Ex. 139.

       Also, Mr. Lanterman was asked about the Federal Judicial Center, and he stated,

in part, “That’s were federal judges go for training on how to be federal judges, and I’m

faculty there as well.” 15T.8. Later in his testimony, Mr. Lanterman stated, in part, “…I

am faculty at the Federal Judicial Center in Washington DC. And last November, I had

the honor of giving a presentation to the entire federal bench including the U.S. Supreme

Court.” 15T.98.

II.    The Harrington Document Allegations regarding Mr. Lanterman’s
       Educational Background and his role with the Federal Judicial Center.

       To begin with, it must be noted that the Harrington Document, which was last

updated on March 11, 2025, contains alleged information and events that took place years

after Mr. Lanterman testified at Petitioner’s criminal trial.

                                              2
      CASE 0:24-cv-00439-JRT-DLM          Doc. 81     Filed 03/28/25    Page 3 of 13




       Specifically, the Harrington Document claims that Mr. Lanterman did not receive

either a bachelor’s or a master’s degree in computer science from the now closed Upsala

College. Harrington Document, p. 9. According to the Harrington Document:

       When Upsala College closed its doors in 1995, Felician University was
       designated as the successor custodian of records. In response to a
       formalized degree verification procedure, the registrar replied in writing,
       ‘after numerous attempts’ to locate any official transcripts for Lanterman,
       none were found.

Id. This alleged response from the Registrar occurred on November 26, 2023. 2 Id.

       As to Mr. Lanterman’s role with the Federal Judicial Center, the Harrington

Document states the following:

      And what about the claim that ‘Mark also conducts annual training for the
      entire Federal judiciary of the Federal Judicial Center in Washington,
      D.C.?”3 Retired Admiral John S. Cooke, Director of the FJC, in responding
      to an inquiry, wrote: “Mr. Lanterman’s involvement with the Federal
      Judicial Center consists of two one-hour webcasts in 2016 and 2017 and a
      75-minute presentation at a Center workshop for judges in 2017. We have
      no plans to invite Mr. Lanterman to speak at future Center programs.”
Harrington Document, pp. 10-11. According to the Harrington Document, Admiral

Cooke’s alleged response occurred on November 21, 2023. 4 Id.

                                      ARGUMENT

       “Federal courts may…supplement the state record only in extraordinary

circumstances because of the obligation to defer to state courts' factual determinations.”

Hall v. Luebbers, 296 F.3d 685, 700 (8th Cir. 2002) (citing 28 U.S.C. § 2254(e)(1)). Rule

2
  The Harrington Document cites to a “Nov. 26, 2023 registrar report” that was not
produced or attached to the document. Harrington Report, p. 9.
3
  The Harrington Document cites to a document on a hyperlink that was not produced or
attached. Harrington Document, p. 11.
4
  The Harrington Document cites to a Nov. 21, 2023, e-mail from FJC John Cook that
was not produced or attached to the document. Harrington Document, pp. 11.
                                             3
      CASE 0:24-cv-00439-JRT-DLM           Doc. 81     Filed 03/28/25     Page 4 of 13




7 of the Rules Governing Habeas Corpus cases provides that “[i]f the petition is not

dismissed, the judge may direct the parties to expand the record by submitting additional

materials relating to the petition.” Mark v. Ault, 498 F.3d 775, 788 (8th Cir. 2007). A

party seeking to expand the record must meet the conditions prescribed by § 2254(e)(2).

Id.

      Section 2254 (e)(2) provides that:

      2) If the applicant has failed to develop the factual basis of a claim in State
      court proceedings, the court shall not hold an evidentiary hearing on the
      claim unless the applicant shows that—

      (A) the claim relies on—

      (i) a new rule of constitutional law, made retroactive to cases on collateral
      review by the Supreme Court, that was previously unavailable; or

      (ii) a factual predicate that could not have been previously discovered
      through the exercise of due diligence; and

      (B) the facts underlying the claim would be sufficient to establish by clear
      and convincing evidence that but for constitutional error, no reasonable
      factfinder would have found the applicant guilty of the underlying offense.

28 U.S.C.A. § 2254 (e)(2).

       “The factual predicate of a petitioner’s claims constitutes the vital facts underlying

those claims.” Jimerson v. Payne, 957 F.3d 916, 924 (8th Cir. 2020) (citing Earl v.

Fabian, 556 F.3d 717, 725 (8th Cir. 2009)).

       In our case, Petitioner appears to be arguing that the Harrington Document

allegedly contains “factual predicate that could not have been previously discovered

through the exercise of due diligence” pursuant to 28 U.S.C.A. § 2254 (e)(2). In other


                                              4
         CASE 0:24-cv-00439-JRT-DLM       Doc. 81     Filed 03/28/25    Page 5 of 13




words, Petitioner claims Mr. Lanterman’s alleged lies about having degrees from Upsala

College and about being a faculty member with the Federal Judicial Center are vital facts

to his Habeas Corpus petition. Petitioner’s motion must be denied because: 1) the

Harrington Document does not contain vital facts, and even if it did, those alleged facts

are not proof that Mr. Lanterman lied about his educational background or about being a

faculty member at the Federal Judicial Center; and 2) Petitioner has failed to establish the

required conditions prescribed by 28 U.S.C.A. § 2254 (e)(2).

I.       THE HARRINGTON DOCUMENT DOES NOT CONTAIN VITAL FACTS,
         AND EVEN IF IT DID, THOSE ALLEGED FACTS ARE NOT PROOF
         THAT MR. LANTERMAN LIED ABOUT HIS EDUCATIONAL
         BACKGROUND OR ABOUT BEING A FACULTY MEMBER AT THE
         FEDERAL JUDICIAL CENTER.

         Petitioner claims the Harrington Document contains vital facts about Mr.

Lanterman allegedly lying at trial about receiving two degrees from Upsala College and

about being a faculty member with the Federal Judicial Center. Petitioner’s entire

argument consists of unsubstantiated allegations based on hearsay and speculation, and

even if those allegations were true, they would not prove that Mr. Lanterman lied on the

stand.

         First, the Harrington Document--which is hearsay--cites hearsay from an

unproduced document, from an unnamed Registrar, from a successor custodian of records

who allegedly could not find any official college transcripts for Mr. Lanterman.

Harrington Document, p. 9. Clearly, this is not factual evidence, vital or otherwise. Id.

On the contrary, it is an unsubstantiated allegation based on pure hearsay and speculation.

Id.

                                             5
      CASE 0:24-cv-00439-JRT-DLM          Doc. 81    Filed 03/28/25    Page 6 of 13




       However, for arguments sake, let’s assume there is a Registrar, who looked for

Mr. Lanterman’s official transcripts and could not find them. Even with this concession,

this is not proof that Mr. Lanterman lied about obtaining two degrees from Upsala

College. It is only proof that the unnamed Registrar could not find Mr. Lanterman’s

transcripts in the records the successor custodian of records received from the now closed

Upsala College.

       Finally, the Harrington Document--which is hearsay--cites hearsay from a retired

Admiral John Cook from an unproduced e-mail allegedly stating that Mr. Lanterman did

present webcasts and one workshop presentation for the Federal Judicial Center in 2016

and 2017. Harrington Document, pp. 10-11. This is not factual evidence, vital or

otherwise. Id. Instead, this is another unsubstantiated allegation based on hearsay and

speculation. Id.

       Again, for arguments sake, let’s assume there is an e-mail from an Admiral John

Cook, and it states that Mr. Lanterman did conduct webcasts and one workshop

presentation for the Federal Judicial Center in 2016 and 2017. This alleged e-mail says

nothing about whether Mr. Lanterman was considered a faculty member at the Federal

Judicial Center, and therefore, it is not evidence that Mr. Lanterman lied about being a

faculty member. Id. Instead, it would be proof that Mr. Lanterman was an instructor at

the Federal Judicial Center. 5


5
 A strong argument can be made that if such an e-mail exists, it is proof that, by teaching
federal judges through webcasts and presentations, Mr. Lanterman was considered a
faculty member at the Federal Judicial Center.

                                            6
      CASE 0:24-cv-00439-JRT-DLM           Doc. 81     Filed 03/28/25     Page 7 of 13




       Thus, Petitioner’s entire motion is based on hearsay, speculation, and

unsubstantiated allegations, and even if these unsubstantiated allegations were true, it

would not prove that Mr. Lanterman lied about his educational background or about

being a faculty member with the Federal Judicial Center. Accordingly, Petitioner’s

motion to expand the record should be denied because the Harrington Document does not

contain any vital facts that allegedly support Petitioner’s Habeas Corpus petition.

II.    PETITIONER HAS FAILED TO ESTABLISH THE REQUIRED
       CONDITIONS PRESCRIBED BY 28 U.S.C. § 2254 (e)(2).

       A. The Harrington Document is Not Newly Discovered Vital Facts.

       According to 28 U.S.C. § 2254(e)(2), “[a] habeas petitioner must develop the

factual basis of his claim in the state court proceedings rather than in a federal evidentiary

hearing unless he shows that his claim relies upon a new, retroactive law, or due

diligence could not have previously discovered the facts.” Cox v. Burger, 398 F.3d 1025,

1030 (8th Cir.2005) (citing 28 U.S.C. § 2254(e)(2)).

       Petitioner maintains that the Harrington Document allegedly contains “factual

predicate that could not have been previously discovered through the exercise of due

diligence” pursuant to 28 U.S.C.A. § 2254 (e)(2). Petitioner’s motion must be denied

because there are no newly discovered vital facts in the Harrington Document.

       Specifically, as addressed in detail in the previous section, the Harrington

Document is riddled with hearsay, speculation, and unsubstantiated allegations and it

does not contain any facts, vital or otherwise, in support of Petitioner’s Habeas Corpus

petition. See Previous Section. As a result, because the Harrington Document does not


                                              7
      CASE 0:24-cv-00439-JRT-DLM           Doc. 81     Filed 03/28/25    Page 8 of 13




contain newly discovered vital facts, Petitioner has failed to establish this required

condition and his motion to expand the record must be denied. 28 U.S.C.A. § 2254 (e)(2);

Mark, 498 F.3d at 788.

       B. Petitioner has Failed to Show that the Harrington Document Clearly and
          Convincingly Establishes that No Reasonable Factfinder would have
          Found him Guilty.

       Under Section 2254(e)(2) “a petitioner must show that the facts underlying the

claim would be sufficient to establish by clear and convincing evidence that but for

constitutional error, no reasonable factfinder would have found the applicant guilty of the

underlying offense.” Mark, 498 F.3d at 788 (quoting Perry v. Kemna, 356 F.3d 880, 889

(8th Cir.2004)). Petitioner’s motion must be denied because Petitioner failed to address

this required condition, and even if it was addressed, Petitioner cannot not show that the

Harrington Document clearly and convincingly establishes that no reasonable factfinder

would have found him guilty.

       To begin with, Petitioner failed to address this required condition (see Petitioner’s

Motion to Expand Record), and therefore on this ground alone, Petitioner’s motion to

expand the record should be denied. Mark, 498 F.3d at 788.

       Instead of addressing this condition, Petitioner argues that, assuming the

allegations in the Harrington Document are true and Mr. Lanterman lacks two degrees

from Upsala College and was not a faculty member with the Federal Judicial Center, Mr.

Lanterman would not have qualified as an expert witness at trial. Petitioner’s Motion to

Expand Record, p. 2. This is simply not true, and even if Mr. Lanterman was disqualified,

it would not have changed the outcome of the trial.

                                              8
      CASE 0:24-cv-00439-JRT-DLM              Doc. 81   Filed 03/28/25    Page 9 of 13




       Federal Rule of Evidence 702 states that “[a] witness who is qualified as an expert

by knowledge, skill, experience, training or education may testify” to “scientific,

technical, or other specialized knowledge” that will assist the trier of fact. Fed. R. Evid.

702. Further, it is important to note that:

       Rule 702 “does not rank academic training over demonstrated practical
       experience....” Circle J Dairy, Inc. v. A.O. Smith Harvestore Products, Inc.,
       790 F.2d 694, 700 (8th Cir.1986). That is, an individual can qualify as an
       expert where he possesses sufficient knowledge gained from practical
       experience, even though he may lack academic qualifications in the
       particular field of expertise. See, e.g., Davis v. United States, 865 F.2d 164,
       168 (8th Cir.1988) (witness with relevant practical experience but no
       medical training competent to testify as to the probabilities of transmitting
       gonorrhea); Loudermill, 863 F.2d at 569–70 (witness who was not a
       medical doctor but who had other substantial scientific training held
       competent to testify as to the cause of plaintiff's cirrhosis of the liver);
       Circle J Dairy, 790 F.2d at 700 (witness who was not a veterinarian and
       had no advanced degrees qualified to testify as an expert as to damage to
       cattle because he had significant practical experience with health problems
       in dairy cattle).

Fox v. Dannenberg, 906 F.2d 1253, 1256 (8th Cir. 1990).

       Here, at the time of trial, Mr. Lanterman had over 25 years of experience in digital

forensics; he was the chief technology officer for Computer Forensic Services, Inc.; he

had testified as a computer forensics expert in over 2,000 legal proceedings; he was an

investigator in both state and federal law enforcement agencies; he was appointed by

federal and state court judges as a neutral in computer forensics; and he was an instructor

at Mitchell Hamline School of Law, the University of St. Thomas School of Law and the

University of Minnesota. Trial Ex. 139. Based on these qualifications alone, Mr.

Lanterman would have qualified as an expert witness in computer forensics at


                                                9
     CASE 0:24-cv-00439-JRT-DLM            Doc. 81    Filed 03/28/25    Page 10 of 13




Petitioner’s trial. Fed. R. Evid. 702; Fox, 906 F.2d at 1256. Thus, Mr. Lanterman’s

alleged lack of formal education and teaching experience at the Federal Judicial Center

would not have disqualified him as an expert in computer forensics, and it would not

have changed the outcome of the trial based on the state’s theory that Petitioner killed his

wife when a hit he hired fell apart, which was supported by computer forensics and

physical evidence.

       Finally, even if Mr. Lanterman had not qualified as an expert at Petitioner’s trial,

there was physical evidence that supported the jury finding Petitioner guilty of murdering

his wife, Amy Allwine. For example:

    When officers arrived on scene, they went to the rear bedroom and found Amy

       face up on the ground with blood around her head. R. Ex. M (11T.62, 75). Officers

       found a nine-millimeter handgun on Amy’s left forearm. Id. at 76. Amy was shot

       at close range in the right ear. R. Ex. R (16T.26-27). The sergeant on scene stated

       that he had never known someone committing suicide to shoot themselves with

       their non-dominant hand. R. Ex. M (11T.135-36). Petitioner confirmed that Amy

       was right-handed. Id. at 136-137.

    Law enforcement personnel and scientists from the Bureau of Criminal

       Apprehension (“BCA”) responded to the scene. R. Ex. M (11T.188). The crime

       scene team leader opined that Amy’s position on the floor was not consistent with

       suicide. Id. at 198-201. The medical examiner noted Amy’s body had been moved

       before law enforcement arrived. R. Ex. R (16T.33-34). The crime scene team



                                             10
     CASE 0:24-cv-00439-JRT-DLM           Doc. 81     Filed 03/28/25    Page 11 of 13




       found Amy’s blood on the floor outside the master bedroom. R. Ex. M (11T.207-

       08); R. Ex. P (14T.43-44).

    The BCA also analyzed swabs taken from the gun. R. Ex. P (14T.46-47). Those

       swabs contained mixtures of DNA from which Petitioner and Amy could not be

       excluded. Id. Over 99% of the population could be excluded as contributors to

       those samples. Id. Police swabbed Petitioner’s hands the night of the murder to

       conduct gunshot residue analysis. R. Ex. N (12T.118). A lab tested the samples and

       found a particle of gunshot residue on Petitioner’s right hand. R. Ex. O (13T.16-

       17).

       Therefore, even if Mr. Lanterman had not qualified as an expert at trial, the

outcome of the trial would not have been different because there was other ample

evidence to support the jury’s guilty verdict.

       Accordingly, because Petitioner cannot not show that the Harrington Document

clearly and convincingly establishes that no reasonable factfinder would have found him

guilty of murdering his wife, Petitioner has failed to establish this required condition and

his motion to expand the record must be denied. 28 U.S.C.A. § 2254 (e)(2); Mark, 498

F.3d at 788.




                                             11
     CASE 0:24-cv-00439-JRT-DLM           Doc. 81   Filed 03/28/25    Page 12 of 13




                                     CONCLUSION

       For these reasons, the Respondent respectfully requests that Petitioner’s motion to

expand the record be denied in its entirety.



       Dated this 28th day of March, 2025.

                                          KEVIN MAGNUSON
                                          WASHINGTON COUNTY ATTORNEY

                                           /s/ Patrick S. Collins
                                          Patrick S. Collins, #0302557
                                          Assistant Washington County Attorney
                                          Office of the Washington County Attorney
                                          15015 62nd Street North, PO Box 6
                                          Stillwater, MN 55082
                                          (651) 430-6115
                                          patrick.collins@co.washington.mn.us




                                               12
     CASE 0:24-cv-00439-JRT-DLM          Doc. 81    Filed 03/28/25    Page 13 of 13




                   CERTIFICATION OF LENGTH AND TYPE SIZE


       I certify that the above memorandum complies with the length and type size

requirements of the United States District Court for the District of Minnesota. The

memorandum is 2,809 words including footnotes, headings, and quotations, as

determined by the word count program used in Microsoft Word. All text including

footnotes is type size 13.



       Dated this 28th day of March, 2025.

                                         Respectfully submitted,

                                         KEVIN MAGNUSON
                                         WASHINGTON COUNTY ATTORNEY

                                         /s/ Patrick S. Collins
                                         Patrick S. Collins, #0302557
                                         Assistant Washington County Attorney
                                         Office of the Washington County Attorney
                                         15015 62nd Street North, PO Box 6
                                         Stillwater, MN 55082
                                         (651) 430-6115
                                         patrick.collins@co.washington.mn.us




                                             13
